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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
v.                                         ) Criminal Case No: 1:21-cr-00382
                                           )
CHRISTOPHER WARNAGIRIS,                    )
                                           )
                       Defendant.          )
__________________________________________)


                        DEFENDANT’S OPPOSITION TO
             GOVERNMENT’S REQUEST FOR PROTECTIVE ORDER
______________________________________________________________________________

       The government has filed a request for a Protective Order (“PO”) to cover discovery

materials that the government is required to produce to the defendant, Major Christopher

Warnagiris, pursuant to:

            - Rule 16 of the Federal Rules of Criminal Procedure,

            - the Due Process Protections Act and Rule 5(f) of the Federal Rules of Criminal

               Procedure, as amended on October 21, 2020,

            - Brady v. Maryland, 373 U.S. 83 (1963), Strickler v. Greene, 527 U.S. 263 (1999),

               United States v. Agurs, 427 U.S. 97 (1976), Kyles v. Whitley, 514 U.S. 419 (1995),

               Giglio v. United States, 405 U.S. 150 (1972), United States v. Bagley, 475 U.S.

               667 (1985), and California v. Trombetta, 467 U.S. 479 (1984), and their progeny,

               and,




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               - The U.S. Attorney's Office General Discovery Policy (2015), which promises that

                  counsel for the government will provide “discovery beyond what is required

                  under Rule 16 and other governing federal law.” (Emphasis added.)

         The government is seeking to protect most discovery materials in this case by what has

come to be known as a standard PO for a Capitol prosecutions, identical to the ones the

government has filed unopposed in other January 6 Capitol cases.1 In the meantime, the

government is withholding discovery materials that they do not want the defendant to utilize or

share as the defense deems necessary. The government advises they will not provide video

evidence from CCTV cameras until the requested PO is entered in this case. Withheld materials

include potentially exculpatory video footage.

         Maj. Warnagiris opposes the government’s draft of the PO as overbroad and not narrowly

tailored, falling short of the “particularized, specific showing” standard required in the District of

Columbia for entry of a protective order, and specifically opposes on the following grounds:

               - the proposed PO creates a disparity between the parties in their ability to utilize

                  video evidence, giving the government a strategic advantage to simply choose

                  which videos to make public while at the same time burdening the defendant with

                  litigation if he wished to do the same;

               - the proposed PO protects videos from cameras and of areas that have already

                  been made public through similar videos in other cases, prohibiting the defendant


1 In the January 6 Capitol case United States v. Samuel Lazar, Case No 21-CR-525-ABJ (D.D.C. 2021), in a minute
order entered on September 1, 2021, Judge Amy Berman Jackson denied the government’s unopposed motion for a
protective order, without prejudice, on the basis that the proposed order violated Local Rule of Criminal Procedure
49(f)(6)(i). While this factor is relevant to the opposition of the government’s PO in this case and any other Capitol
prosecution, Maj. Warnagiris’ opposition to the PO is based on additional and more contentious factors, as outlined
by the foregoing opposition.


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      from utilizing video footage under a security concern argument that is

      inapplicable when the camera positions and areas covered have already been

      revealed to the public;

    - the government has already publicly released CCTV footage of Maj. Warnagiris

      and video stills from security cameras of Maj. Warnagiris, nullifying the concerns

      outlined in their proposed PO with respect to videos and images depicting the

      allegations against this defendant;

    - the proposed PO protects videos from recordings and of areas that have already

      been made public through video stills, or screen shots, from these cameras and

      recordings, which have been filed liberally in federal courts and released to the

      public by the government on a dedicated web site — yet the proposed PO

      prohibits the defendant from utilizing moving video while the government

      continues to use and publicize images from the same sources, under a security

      concern argument that is inconsistent with the government’s actions and alleged

      concerns; and,

    - while the law and the proposed PO place the burden on the government to

      maintain the protection of a PO, the government has, in at least one other Capitol

      case where this standard PO has been entered, audaciously filed pleadings

      shifting the burden from the government to the defense when the defendant

      contested the sensitivity of the PO designation for a particular piece of evidence

      pursuant to Section 9 of the standard PO — demonstrating that the government

      cannot be trusted to abide by the conditions of their own PO, and placing defense



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                   counsel in an ethical dilemma for all future cases where the government seeks

                   defense agreement to this type of PO.



                                 LEGAL STANDARD AND ARGUMENT

         “When the Government is seeking a protective order, it bears the burden of showing that

good cause exists for its issuance. Good cause requires a ‘particularized, specific showing.’”

United States v. Dixon, 355 F. Supp. 3d 1, 4 (D.D.C. 2019) (internal citations omitted). “In

determining whether good cause exists, courts have considered whether (1) disclosure of the

materials in question would pose a hazard to others; (2) the defendant would be prejudiced by a

protective order; and (3) the public's interest in disclosure outweighs the possible harm.” Id. In

weighing the need for a protective order against constitutional prejudice to the Defendant or

harm to the public, “the Court considers two factors—the nature and circumstances of the

alleged crime and the Defendant's criminal history. Considering the type of crime charged helps

assess the possible threats to the safety and privacy of the victim.” Id.

         Moreover, the D.C. Circuit recognizes a “strong presumption in favor of public access to

judicial proceedings.” In re Leopold to Unseal Certain Electronic Surveillance Applications and

Orders, 964 F.3d 1121, 1127 (D.C. Cir. 2020) (quoting United States v. Hubbard, 650 F.2d 293,

317 (D.C. Cir. 1980).2


2 See also In re Oliver, 333 U.S. 257, 270 (1948) (“The knowledge that every criminal trial is subject to
contemporaneous review in the forum of public opinion is an effective restraint on possible abuse of judicial
power”); Waller v. Georgia, 467 U.S. 39, 47 (1984) (“The need for an open proceeding may be particularly strong
with respect to suppression hearings. A challenge to the seizure of evidence frequently attacks the conduct of police
and prosecutor … The public in general also has a strong interest in exposing substantial allegations of police
misconduct to the salutary effects of public scrutiny”); Gannett Co. v. DePasquale. See 443 U. S. 368, 380 (1979)
(“The requirement of a public trial is for the benefit of the accused; that the public may see he is fairly dealt with and
not unjustly condemned, and that the presence of interested spectators may keep his triers keenly alive to a sense of
their responsibility and to the importance of their functions”).


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A. Burden to Show Good Cause

       Paragraph 9 of the proposed PO is in concert with the law governing the secrecy of

evidence, specifically noting that the burden of good cause on maintaining the designations

“remains with the government at all times.”




       It would seem without question that the government bears the burden of showing good

cause when seeking a protective order, or when responding to a defendant who contests such

designation. Yet, in the concurrent Capitol case of United States v. John Anderson, Case No 1:21-

CR-215 (D.D.C. 2021), where a standard PO was entered and the defendant later filed for an

amendment of the sensitivity designations on a 30-second CCTV clip, the government shifted the

burden of demonstrating good cause on to the defendant, audaciously arguing in their responsive

pleading that “defendant has not demonstrated good cause to remove the designation.”

       The government’s decision not to abide by the terms of the PO that it had drafted and had

asked the defendants in all of the Capitol cases to sign, which most did in good faith reliance on

preserving their ability to readily contest the government’s secrecy designations later, has created

an ethical dilemma for defense counsel in Capitol cases moving forward — which is precisely

what undesigned counsel is encountering and bringing to the court’s attention in this matter.




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       Highlighted snippets from briefs of the government and the defense in United States v. John Anderson.



B. Materials Already Made Public

        The materials that the government sought to protect in the Anderson case, the same

materials that the PO covers in this case, include videos of Capitol areas and videos from CCTV

cameras that are almost identical to ones that have already been made public by the government

in a variety of Capitol prosecutions and investigations, in addition to the U.S. House of

Representatives trial of President Donald J. Trump.3

        In the Anderson case, citing security concerns, the government fought to keep from the

public a 30-second video from a CCTV camera even though in the concurrent case of United

States v. Robert Morss, Case No 21-CR-40-TNM-5 (D.D.C. 2021), the government released

CCTV from that same camera, showing the same area, the same people, and almost the same

time frame, without contestation and without citing any security concerns. See United States v.

John Anderson, Criminal Case No 1:21-CR-00215-RC (D.D.C. 2021) [Document 33]. The


3 Capitol CCTV videos can be readily identified by a white-on-black date and time stamp in the upper left hand
corner of videos and screen shots, although some video stills released by the government gave been edited to cut out
the top CCTV identifier frame.


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government had no explanation for this inconsistency of positions at the oral hearing on the

Anderson motion, resulting in Judge Rudolph Contreras ruling against the government. Id. at

Document 37.

        The proposed PO makes no exception for nearly identical materials to ones that have

already been made public, from the same cameras depicting the same areas, and instead burdens

the defendant with litigation if he wishes to release such videos. And, as can be deduced from the

Anderson case, the defendant should expect strong government opposition to the release of the

video if he endeavors in such a task, even if the video is not genuinely subject to the alleged

security concerns that the government puts forward in their request for a PO.

        The government has also demonstrated that, when favorable to their case, they will forgo

the alleged security concerns that were outlined for this court and publicly present CCTV footage

to bolster their cases against January 6 Capitol defendants. They have already done so in various

active prosecutions and investigations,4 in addition to the U.S. House of Representatives trial of

President Donald J. Trump:

        •    United States v. Emanuel Jackson, Case No 1:21-CR-395-TJK (D.D.C. 2021)

        •    United States v. Bruno Cua, Case No 1:21-CR-107-RDM (D.D.C. 2021)

        •    United States v. George Tanios, Case No 1:21-CR-222-TFH-2 (D.D.C. 2021)

        •    United States v. Robert Morss, Case No 21-CR-40-TNM-5 (D.D.C. 2021)

        •    United States v. Christopher Warnagiris, Case No 1:21-cr-00382-PLF (D.D.C. 2021)




4        There may be additional publicized videos of this defendant and others, and other such cases known to the
government, the party in a better position to complete this list for the court, where the government has released
Capitol CCTV footage in their prosecutions or communications with the public to assist in prosecutions.


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       Indeed, the government has already publicly released CCTV footage depicting this

defendant in the Capitol. The CCTV video of Maj. Warnagiris has been posted to Twitter by the

account depicted in the screen shot below and has been viewed by the public over 72,200 times.

Available at https://twitter.com/jsrailton/status/1392904052556640257. Yet, this CCTV video has

not been provided to the defense and will be provided as “HIGHLY SENSITIVE” once it is

handed over. While the PO exempts the exact snippet or video below, the longer version of this

video that will be provided to the defendant under the PO will remain protected under the PO.




                        CCTV date and time stamp underlined in red for emphasis.



       As far as security concerns outlined by the government, realistically, what remains to

protect in this case, other than materials not directly pertaining to Maj. Warnagiris? As the D.C.




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Circuit had considered over forty years ago, denying public access should be considered when

there is a “possibility of prejudice to the defendants by sensational disclosure.” United States v.

Hubbard, 650 F.2d 293, 320–21 (D.C. Cir. 1980). But, once the information has been made

public the argument for protecting that information is rendered moot. Hubbard, 650 F.2d at 322

(“One possible reason for unsealing is that the documents were already made public through

other means”). In Maj. Warnagiris’ case, the prejudicial disclosure has already occurred, by

initiation of the government, who now seeks to limit only the defendant in any potential

responsive disclosures. The government’s arguments, thus, fall short of their burden for a good

cause showing and the elements that the D.C. Circuit considers in the need to grant a protective

order request.

       Moreover, the government does not seek to limit its own disclosure interests, only the

disclosure interests of the defendant. What can be deduced from this quagmire of incongruity is

that the terms of the PO disproportionately burden the defense to seek court approval for the

removal of secrecy designations to release materials for public view, while the government

maintains the freedom to choose to do the same without opposing party or court oversight. This

creates a disparity between the parties. The proposed order gives the government control of the

evidence and the public narrative, rendering the defense an inferior party; all the while, the two

parties are to stand before the court as equals. The defendant is rendered a beggar to the

government through this PO — “United States may agree to remove or reduce a sensitivity

designation without further order of this Court.” In essence, the proposed order allows the

defendant to plead with the government, please sir, I want some more. The effect of the PO is

that the government retains sole control over the narrative of the defendant’s conduct, while the



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defendant is rendered Oliver Twist and has to beg the government to reveal evidence favorable to

his case.

       Aside from this disparity between the parties and government’s demand that defendant be

placed in a begging position, the defense is not aware of a single instance of the government

actually agreeing with a January 6 Capitol defendant to remove a sensitivity designation without

a court order — where the government actually granted a defendant’s request without litigation.

In the aforementioned Anderson case, where Judge Contreras sided with the defense and

removed the sensitivity designation after the parties filed a total of eight pleadings and had two

hearings, the government fought tooth and nail to inappropriately keep evidence under secrecy

designation for no apparent reason other than to maintain control of the public narrative about

the defendant’s culpability. See United States v. John Anderson, Criminal Case No 1:21-

CR-00215-RC (D.D.C. 2021) [Documents 24 through 38].

       The standard PO is simply unfair to the defendant. By allowing the government to

maintain unilateral control of the narrative and unbalanced, opportunistic decision control over

video release, the government would simply be permitted by court order to protect their party

interest at the cost of prejudice to the defendant. This prejudice and prejudicial disparity is in

opposition to the government’s good cause request for a PO. See United States v. Dixon, 355 F.

Supp. 3d 1, 4 (D.D.C. 2019) (citing case law on protective order imposition that considered

whether “the defendant would be prejudiced by a protective order”).




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C. Public Video Stills or Screen Shots From CCTV Videos

       The government has inexplicably decided that video stills or screen shots from CCTV

cameras may be used without limitation, but videos cannot. The government has readily

publicized video stills from their CCTV cameras on their public web site entitled “Capitol

Breach Cases” and found at https://www.justice.gov/usao-dc/capitol-breach-cases. The

government does not explain how video stills or screen shots can be distinguished from moving

images or videos for purposes of security concern designation.

       The alleged distinction between screen shots and moving video remains a conundrum.

After all, a video is but a moving collection of stationary pictures. Even sound is not a concern to

this analysis as the CCTV cameras were not equipped with sound recording. This is genuinely a

distinction between moving pictures and stationary pictures.

       As can be seen in at least two of the pages from the Statement of Facts filed in this case,

displayed below, the government has already released screen shots from their security cameras in

Maj. Warnagiris’ case, which they also published for public viewing on https://www.justice.gov/

opa/press-release/file/1393941/download. And, as discussed supra, the government also released

CCTV video depicting Maj. Warnagiris in the Capitol to the public. There is no added security

benefit to the government to keep any relevant videos of Maj. Warnagiris in secrecy. And, the

government’s argument for good cause is rendered meaningless once they release such imagery.

See Hubbard, 650 F.2d at 322 (“One possible reason for unsealing is that the documents were

already made public through other means”).




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       Why is it that photo stills from these security cameras can be selectively publicized by

the government, even the videos when they so choose, but the defendant must jump through

legal hoops of fire to attempt the same, just to place his accusations in context?

       By releasing the CCTV footage of Maj. Warnagiris in the Capitol, by releasing additional

screen shots of him from CCTV cameras, and by releasing similar content in other Capitol cases,

the government completely negates their argument for “good cause” to protect any materials that

also depict similar areas or events in the Capitol. See Hubbard, 650 F.2d at 322 (“One possible

reason for unsealing is that the documents were already made public through other means”).

There is no justification for entry of the proposed PO in this case to cover media depicting Maj.

Warnagiris, as the case currently stands.




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                                        CONCLUSION

       The PO is overbroad in that it protects areas and materials that have already been released

or revealed to the public. The PO is not narrowly tailored to the government’s alleged concerns,

and the government’s arguments for good cause are invalidated by their inconsistent treatment of

the CCTV videos in the various Capitol cases, and in their release of screen shot images from the

same cameras they seek to protect.

       The PO inappropriately protects materials depicting Maj. Warnagiris in the Capitol even

though the government has already released these materials to the public. Any protections on

materials depicting this defendant should be removed from the PO as prejudicial to the

defendant.

       Furthermore, the imbalance created by the proposed PO renders the government and the

defense unequal parties before this court. Such inequality cannot be upheld by court order.

       A fair PO must be narrowly tailored to only cover materials not previously released to the

public through any other means, materials not depicting this defendant, and materials which are

genuinely being protected for good cause. A fair PO must balance the interests of both parties

with respect to releasing evidence favorable to their side, which the proposed PO does not do.

And, any PO imposed by this court must not conflict with the Local Rules.



                                             Date: September 6, 2021




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                                              Respectfully submitted,
                                              By Counsel:

                                              /s/

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                         CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on September 6, 2021, I will electronically file the foregoing with the
Clerk of the Court for the United States District Court for the District of Columbia by using the
CM/ECF system. I certify that all participants in the case are registered CM/ECF users and that
service will be accomplished by the CM/ECF system.

                                              /s/

                                              Marina Medvin, Esq.




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